      Case 1:15-cv-07001-RRM-JO Document 4 Filed 12/10/15 Page 1 of 1 PageID #: 28




                                                  UNITED STATES COURTS
                                              EASTERN DISTRICT OF NEW YORK

                                                 QUALITY CONTROL CHECK

                                                 ATTORNEY CASE OPENINGS

                                                           Corrections
                                  Were Corrections made to this ACO case?          Yes   ✔     No

1.   Attorney did not complete the initiating documents.
       Checked on http://www.nyed.circ2.dcn/cfm/ecf/atyopencase.cfm to determine who the attorney was that
       attempted to file the case and contacted that attorney in order to retrieve Complaint, Cover Sheet, Summons, and
       payment information or to advise the attorney to file the initiating documents.

2.   Court Designation was incorrect. Copied case, changed Court designation, deleted incorrect case and advised other
     Court. This is in conjunction with Paragraph 10-NY-E Division of Business Rule 50.1(d)(2)

3.   Attorney did not separate the initiating document. Separated document into individual attachments. Replaced Main
     document and attached the cover sheet and Summons (if applicable).

4.   Attorney did not include         Complaint           Cover Sheet        Summons
       Contacted attorney and retrieved missing document from attorney.

5.   Attorney used Incorrect Form of Summons              Defendant’s name and address not completed
       Plaintiff’s attorney name and address not completed.          Days in which to answer the complaint is
       incorrect.
       Contacted attorney and requested a corrected summons.

6.   Attorney used incorrect event when docketing the initiating document.
       Deleted document and re-docketed using the correct event.
                                                                                                                          ●
7.   Corrected       Party Role          Party spelling           Added missing Party
                             Converted from All Caps to Initial Caps

8.   Corrected Short Title

9.   Corrected           Basis of Jurisdiction              Citizenship of Principal Parties
                             Nature of Suit                   Cause of Action

10. NY-E Division of Business Rule 50.1(d)(2) was not completed. Contacted attorney and retrieved corrected
     cover sheet and replaced on docket sheet.


11. Other
